Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                           Exhibit I Page 1 of 71




                    EXHIBIT I
          Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                                     Exhibit I Page 2 of 71




Claim Number: 26037

Claim Number: 26037
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                           Exhibit I Page 3 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                           Exhibit I Page 4 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                           Exhibit I Page 5 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                           Exhibit I Page 6 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                           Exhibit I Page 7 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                           Exhibit I Page 8 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                           Exhibit I Page 9 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 10 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 11 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 12 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 13 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 14 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 15 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 16 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 17 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 18 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 19 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 20 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 21 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 22 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 23 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 24 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 25 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 26 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 27 of 71
          Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                                    Exhibit I Page 28 of 71




Claim Number: 26150

Claim Number: 26150
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 29 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 30 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 31 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 32 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 33 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 34 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 35 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 36 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 37 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 38 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 39 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 40 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 41 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 42 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 43 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 44 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 45 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 46 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 47 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 48 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 49 of 71
          Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                                    Exhibit I Page 50 of 71




Claim Number: 26285

Claim Number: 26285
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 51 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 52 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 53 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 54 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 55 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 56 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 57 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 58 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 59 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 60 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 61 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 62 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 63 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 64 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 65 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 66 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 67 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 68 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 69 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 70 of 71
Case:17-03283-LTS Doc#:6482-9 Filed:04/23/19 Entered:04/23/19 15:59:32   Desc:
                          Exhibit I Page 71 of 71
